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Pro Se 7(Rev. 12/16) Complaint for Employment Discrimination



                                      United States District Courts,.-                                                   I o


                                                                      for the

                                                          Eastern District of Virginia

                                                               Alexandria Division



                                                                                Case No.     uUysikifiiafA
                                                                                            (to befilled in by the Clerk's Office)
                    Jameile Denise Harris

                            Plaintiff(s)
(Write thefitll name ofeach plaintiffwho isfiling this complaint.
Ifthe names ofall the plaintiff cannotfit in the space above,                   Jury Trial: (check one) O Yes                  No
please write "see attached"in the space and attach an additional
page with thefull list ofnames.)
                                -V-




                           Fronlpoint
                           Defendant(s)
(Write thefidl name ofeach defendant who is being sued Ifthe
names ofall the defendants cannotfit in the space above,please
write "see attached" in the space and attach an additionalpage
with thefull list ofnames.)



                             COMPLAINT FOR EMPLOYMENT DISCRIMINATION


1.        The Parties to This Complaint
          A.        The PIamtifT(s)

                    Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                    needed.

                              Name                                  Jameile Denise Harris
                              Street Address                        131 Irvington ST SW Apt 101
                              City and County                       Washington
                              State and Zip Code                    DC,20032
                              Telephone Number                      2027056106
                              E-mail Address                        Bzyldyndc^gmail.com


         B.         The Defendant(s)

                   Provide the information below for each defendant named in the complaint, whether the defendant is an
                   individual, a government agency, an organization, or a corporation. For an individual defendant,
                   include the person'sjob or title (ifknown). Attach additional pages if needed.


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